         Case 1-21-40870-jmm                   Doc 20-2         Filed 07/01/21           Entered 07/01/21 09:38:12

             Business Platinum Card                                                                                             p. 1/14
             RIVERSIDE DRIVE
             YEKATERINA TUMAYEVA                                                                             Customer Care: 1-800-492-8468
             Closing Date 03/18/21   Next Closing Date 04/16/21                                              TTY:           1-800-221-9950
             Account Ending     2001                                                                         Website: americanexpress.com

                                                                                                Membership Rewards® Points
  New Balance                                                      $26,758.03                   Available and Pending as of 02/28/21
  Minimum Payment Due                                              $17,249.56                                                          1,794
                                                                                                For up to date point balance and full program
      Includes the past due amount of $441.94                                                   details, visit membershiprewards.com
  Payment Due Date                                                     04/12/21               Account Summary
       Late Payment Warning: If you do not pay the Minimum Payment Due by                       Pay In Full Portion
       your Next Closing Date of 04/16/21, you may have to pay a late fee of the                 Previous Balance                  $2,661.72
       greater of $39.00 or 2.99% of the past due Pay in Full amount, and your Pay               Payments/Credits                 -$2,505.20
       Over Time APR may be increased to the Penalty APR of 29.24%.                              New Charges                     +$16,484.62
                                                                                                 Fees                               +$39.00
                                                                                                 New Balance          =           $16,680.14
                                                                                                Pay Over Time Portion
                                                                                                 Previous Balance                 $10,058.88
Minimum Payment Warning: If you make only the minimum payment each period,                       Payments/Credits                   -$226.58
you will pay more in interest and it will take you longer to pay off your Pay Over Time          New Charges                          +$0.00
balance. For example:                                                                            Fees                                 +$0.00
                                                                                                 Interest Charged                  +$245.59
If you make no additional        You will pay off the balance   And you will pay an              New Balance        =             $10,077.89
charges and each month you       shown on this statement in     estimated total of...            Minimum Due                         $569.42
pay...                           about...

        Only the                                                                                Account Total
                                           21 years                        $24,602
  Minimum Payment Due                                                                            Previous Balance                 $12,720.60
                                                                                                 Payments/Credits                  -$2,731.78
If you would like information about credit counseling services, call 1-888-733-4139.             New Charges                      +$16,484.62
                                                                                                 Fees                                +$39.00
     See page 2 for important information about your account.                                    Interest Charged                   +$245.59

                                                                                                 New Balance                      $26,758.03
     New York Residents: New York Residents may contact the New York State                       Minimum Payment Due              $17,249.56
     Department of Financial Services by telephone or visit its website for free
     information on comparative credit card rates, fees, and grace periods. New York
     Department of Financial Services: 1-800-342-3736 or www.dfs.ny.gov.                        Pay Over Time Limit                $10,000.00
                                                                                                Available Pay Over Time Limit           $0.00
     Your account is past due.                                                                  Days in Billing Period: 31


     Please refer to the IMPORTANT NOTICES section for any changes to
     your Account terms and any other communications on
     pages 7 - 14.

                                                                       Continued on page 3

  Please fold on the perforation below, detach and return with your payment
 á                                                                             á
      Payment Coupon                            Pay by Computer                      Pay by Phone                 Account Ending          2001
      Do not staple or use paper clips          americanexpress.com/                 1-800-472-9297
                                                business                                              Enter 15 digit account # on all payments.
                                                                                                      Make check payable to American Express.


                    YEKATERINA TUMAYEVA                                                                                   Payment Due Date
                    RIVERSIDE DRIVE                                                                                               04/12/21
                    155 OCEANA DR E
                    APT 1H                                                                                                      New Balance
                    BROOKLYN NY 11235-6684                                                                                      $26,758.03
                                                                                                                      Minimum Payment Due
                                                                                                                                $17,249.56



       See reverse side for instructions                AMERICAN EXPRESS                                              $                   .
       on how to update your address,                   P.O. BOX 1270                                                       Amount Enclosed
       phone number, or email.                          NEWARK NJ 07101-1270

                                                        *071011270704*




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             Business Platinum Card                                                                                    p. 3/14
             RIVERSIDE DRIVE
             YEKATERINA TUMAYEVA
             Closing Date 03/18/21                                                                       Account Ending          2001

          Customer Care & Billing Inquiries         1-800-492-8468 Hearing Impaired
          International Collect                     1-623-492-7719 TTY: 1-800-221-9950              Website: americanexpress.com
          Large Print & Braille Statements          1-800-492-8468 FAX: 1-623-707-4442
          Express Cash                              1-800-CASH-NOW In NY: 1-800-522-1897      Customer Care
                                                                                              & Billing Inquiries   Payments
                                                                                              P.O. BOX 981535       P.O. BOX 1270
                                                                                              EL PASO, TX           NEWARK NJ 07101-
                                                                                              79998-1535            1270




                                         For information on your Pay Over Time feature and limit, see page 5

                                         Please note, your preset spending limit is $10,600.00. You have spent
                                         $26,758.03.

                                                    Because your payment was received late, you may have
                                                    forfeited Membership Rewards® points. Please visit our
                                                    website at www.membershiprewards.com/terms or call
                                                    1-800-AXP-EARN (297-3276) for more information or to
                                                    reinstate points. There is a $35.00 fee for each month of
                                                    points you want to reinstate.



 Payments and Credits
 Summary

                                                                       Pay In Full           Pay Over Time t                 Total
Payments                                                                -$2,319.42                 -$226.58              -$2,546.00
Credits                                                                  -$185.78                     $0.00               -$185.78
Total Payments and Credits                                             -$2,505.20                 -$226.58              -$2,731.78


 Detail        *Indicates posting date

Payments                                                                                                                  Amount
02/17/21*      ONLINE PAYMENT - THANK YOU                                                                                -$2,546.00
Credits                                                                                                                   Amount
02/17/21*      AMEX Airline Fee Reimbursement                                                                              -$35.00
               TRANSACTION PROCESSED BY AMERICAN EXPRESS
02/17/21*      AMEX Airline Fee Reimbursement                                                                              -$35.00
               TRANSACTION PROCESSED BY AMERICAN EXPRESS
02/18/21*      AMEX Airline Fee Reimbursement                                                                              -$35.00
               TRANSACTION PROCESSED BY AMERICAN EXPRESS
02/23/21       LUMENS LIGHT PLUS LIVING LUMENS LIGHT                                                                       -$12.36
               SACRAMENTO         CA
               SACRAMENTO
02/24/21       LUMENS LIGHT PLUS LIVING LUMENS LIGHT                                                                       -$43.42
               SACRAMENTO         CA
               SACRAMENTO
02/25/21*      AMEX Airline Fee Reimbursement                                                                              -$25.00
               TRANSACTION PROCESSED BY AMERICAN EXPRESS


 New Charges
 Summary
                                                                       Pay In Full           Pay Over Time t                 Total
Total New Charges                                                      $16,484.62                     $0.00            $16,484.62


                                                                                                               Continued on reverse




                                                          EXHIBIT B
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  YEKATERINA TUMAYEVA                                Account Ending       2001                               p. 4/14


 Detail
       YEKATERINA TUMAYEVA
       Card Ending 2001
                                                                                                                Amount
02/15/21     UNITED AIRLINES                                  NEWARK                      NJ                      $35.00
             UNITED AIRLINES
             From:                    To:                      Carrier:        Class:
             N.Y. NEWARK INTL A       PROVIDENCIALES           UA              00
             Ticket Number: 01699082464181                     Date of Departure: 02/15
             Passenger Name: DANILENKO /FIRST CHECKED
             Document Type: EXCESS BAGGAGE
02/22/21     UNITED AIRLINES                                  PROVIDENCIALE               TC                      $35.00
             UNITED AIRLINES
             From:                    To:                      Carrier:        Class:
             PROVIDENCIALES           N.Y. NEWARK INTL A       UA              00
             Ticket Number: 01699089726666                     Date of Departure: 02/22
             Passenger Name: DANILENKO /FIRST CHECKED
             Document Type: EXCESS BAGGAGE
02/22/21     UNITED AIRLINES                                  PROVIDENCIALE               TC                      $35.00
             UNITED AIRLINES
             From:                    To:                      Carrier:        Class:
             PROVIDENCIALES           N.Y. NEWARK INTL A       UA              00
             Ticket Number: 01699089726670                     Date of Departure: 02/22
             Passenger Name: CHERVONSKY/FIRST CHECKED
             Document Type: EXCESS BAGGAGE
02/22/21     UNITED AIRLINES                                  PROVIDENCIALE               TC                      $35.00
             UNITED AIRLINES
             From:                    To:                      Carrier:        Class:
             PROVIDENCIALES           N.Y. NEWARK INTL A       UA              00
             Ticket Number: 01699089726681                     Date of Departure: 02/22
             Passenger Name: DANILENKO /FIRST CHECKED
             Document Type: EXCESS BAGGAGE
02/26/21     WF4 DTF RTN *SERVICE FEE                         CONCORD                     CA                      $21.38
             518-457-5181
02/26/21     NYS DTF PIT RTN PAYMENT                          ALBANY                      NY                     $950.00
             518-457-5181
02/27/21     UBER TRIP                                        HELP.UBER.COM               CA                      $81.98
             YGWG5DMI 94105
02/27/21     UBER TRIP                                        HELP.UBER.COM               CA                      $18.98
             3CSO4SAO 94105
02/27/21     UBER TRIP                                        HELP.UBER.COM               CA                      $14.60
             3KTBURYI 94105
03/01/21     UBER TRIP                                        HELP.UBER.COM               CA                       $3.00
             3CSO4SAO 94105
03/01/21     US MINT COIN SALES-DR 000000002                  WASHINGTON                  DC                  $15,244.95
             USM09241599 20220
             US Mint Coin Sales
03/03/21     UBER TRIP                                        HELP.UBER.COM               CA                       $9.73
             FN2A5ORY 94105


 Fees

                                                                                                                Amount
03/18/21     Late Payment Fee                                                                                     $39.00

Total Fees for this Period                                                                                       $39.00




                                                                                                    Continued on next page




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              Business Platinum Card                                                                                       p. 5/14
              RIVERSIDE DRIVE
              YEKATERINA TUMAYEVA
              Closing Date 03/18/21                                                                         Account Ending           2001




 Interest Charged

                                                                                                                              Amount
03/18/21        Interest Charge on Pay Over Time Purchases                                                                     $245.59

Total Interest Charged for this Period                                                                                        $245.59

About Trailing Interest
You may see interest on your next statement even if you pay the new balance in full and on time and make no new charges. This is called
"trailing interest". Trailing interest is the interest charged when, for example, you didn't pay your previous balance in full. When that
happens, we charge interest from the first day of the billing period until we receive your payment in full. You can avoid paying interest
on purchases by paying your balance in full and on time each month. Please see the "When we charge interest" sub-section in your
Cardmember Agreement for details.


 2021 Fees and Interest Totals Year-to-Date
                                                                                                                              Amount
 Total Fees in 2021                                                                                                            $78.00
 Total Interest in 2021                                                                                                        $511.49




 Interest Charge Calculation
 Your Annual Percentage Rate (APR) is the annual interest rate on your account.
                                                                                 Annual        Balance Subject                 Interest
                                                                         Percentage Rate       to Interest Rate                 Charge

 Pay Over Time option                                                             29.24% (v)          $9,890.30                $245.59
Total                                                                                                                         $245.59
(v) Variable Rate



 Information on Pay Over Time

 Pay Over Time Limit
 There is a limit to your Pay Over Time feature balance. Your Pay Over Time Limit is $10,000.00. We may approve or decline a charge
 regardless of whether your Card account balance exceeds or does not exceed your Pay Over Time Limit. You must pay in full all
 charges that are not placed into a Pay Over Time balance by the Payment Due Date.

 Available Pay Over Time Limit
 Your Available Pay Over Time Limit is $0.00 and is accurate as of your statement date. This Limit is the remaining amount that you can
 add to your Pay Over Time balance. The Available Pay Over Time Limit amount is calculated by subtracting your Pay Over Time balance
 from your Pay Over Time Limit. If you have a preset spending limit on your account that is less than your Pay Over Time Limit, you may
 not be able to use some or all of your Available Pay Over Time Limit.

 Pay Over Time Setting:           ON
 The setting indicated above is accurate as of your statement closing date. For the most up to date setting, please refer to your online
 account. If your setting is On, eligible charges will be placed in your Pay Over Time balance up to your Pay Over Time Limit. If your
 setting is Off, all charges will be added to your Pay In Full balance and no new charges will be included in your Pay Over Time balance.
 If you have an existing Pay Over Time balance, you can continue to pay this off over time with interest, as long as you pay your
 minimum due each month by your Payment Due Date.




                                                             EXHIBIT B
